              Case 1:17-cr-00094 Document 1 Filed 05/10/17 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                   Holding a Criminal Term

                           Grand Jury Sworn in on January 8, 2016



 UNITED STATES OF AMERICA                                 CRIMINAL NO.

              V.                                          UNDER SEAL

 JUAN MANUEL ABOUZAID EL                                  21 U.S.C. §§959(a), 960, and 963
 BAYEH,                                                   (Conspiracy to Distribute Five Kilograms or
         also known as                                    More of Cocaine, 500 grams or more of
         "El Escorpion," "El                              methamphetamine, Knowing and Intending
         Hermano," "Nene," and "El                        that it will be Unlawfully Imported into the
         Arabe,"                                          United States.)

              Defendant.                                  18 U.S.C. § 2
                                                          (Aiding and Abetting)

                                                          21 U.S.C. §§ 853 and 970
                                                          (Forfeiture)




                                         INDICTMENT

       The Grand Jury charges that:

                                         COUNT ONE

       From in or around 2012, and continuing to the date of the filing of this Indictment, in the

countries of Mexico, the United States and elsewhere, the Defendant, JUAN MANUEL

ABOUZAID EL BAYEH, also known as "El Escorpion," "El Hermano," "Nene," and "El

Arabe," together with others, both known and unknown to the Grand Jury, did knowingly,

intentionally, and willfully conspire to distribute (1) five (5) kilograms or more of a mixture and

substance containing a detectable amount of cocaine, a Schedule II controlled substance; and (2)

five hundred (500) grams or more of a mixture and substance containing a detectable amount of
               Case 1:17-cr-00094 Document 1 Filed 05/10/17 Page 2 of 3




methamphetamine, a Schedule II controlled substance, knowing and intending that such substances

would be unlawfully imported into the United States from a place outside thereof, in violation of

Title 21, United States Code, Section 959(a); all in violation of Title 21, United States Code,

Section 963 and Title 18, United States Code, Section 2.

        With respect to the Defendant, the controlled substances involved in the conspiracy

attributable to him as a result of his own conduct, and the conduct of other conspirators reasonably

foreseeable to him, is five (5) kilograms or more of a mixture and substance containing a detectable

amount of cocaine and five hundred (500) grams or more of a mixture and substance containing a

detectable amount of methamphetamine in violation of Title 21, United States Code, Sections

960(b)(1)(B) and 960(b)(1)(H), respectively.

       (Conspiracy to Distribute Five Kilograms or More of Cocaine and 500 Grams or
       More of Methamphetamine Knowing and Intending that it would be Imported into
       the United States in violation of Title 21, United States Code, Sections 959(a), 960
       and 963, and Title 18, United States Code, Section 2.)

                                 FORFEITURE ALLEGATION

       The United States hereby gives notice to the Defendant that upon conviction of the Title

21 offense alleged in Count One of this Indictment, the government will seek forfeiture in

accordance with Title 21, United States Code, Sections 853 and 970, of all property constituting

or derived from any proceeds the Defendant obtained directly or indirectly as a result of the alleged

Title 21 violation, and all property used or intended to be used in any manner or part to commit

and to facilitate the commission of such offense.

       If any of the above-described forfeitable property, as a result of any act or omission of the

Defendant:

               (a)     cannot be located upon the exercise of due diligence;

                                                 2
              Case 1:17-cr-00094 Document 1 Filed 05/10/17 Page 3 of 3




               (b)     has been transferred or sold to, or deposited with, a third person;

               (c)     has been placed beyond the jurisdiction of the Court;

               (d)     has been substantially diminished in value; or

               (e)     has been commingled with other property which cannot be subdivided

                       without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p) to
seek forfeiture of any other property of the said Defendant up to the value of the above forfeitable

property.

       (Criminal Forfeiture, in Violation of Title 21, United States Code, Sections 853 and
       970.)


                                                      A TRUE BILL:



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                                                       person




                                                      AR      R G. WY T
                                                      Chief
                                                      Narcotic and Dangerous Drug Section
                                                      U.S. Department of Justice
                                                      Washington, 9C. 20530


                                              By:
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